Case 2:Ol-CV-02503-SH|\/|-tmp Document 564 Filed 06/10/05 Page 1 of 4 Page|D 681

 

Fn - v
m THE UNITED sTATEs DIsTRIcT cOURT 'ED B" D_C.
FOR THE WESTERN DISTRICT OF TENNESSEE 05 _l
WESTERN DIVISION JU?“. 10 PH h: 143
§Uwh§T-r q- aps
CLEP.F<, 1_|:1.=`; "}"m§?-`)SO
FEDERAL EXPRESS cORP. , W,D, m -¢~F_;}‘ i;;‘_,;l,;.-F___fT-PH{§

Plaintiff,

V. NO. Ol-2503-MaP

ACCU SORT SYSTEMS, INC

' |'

Defendant.

 

ORDER GRANTING PERMISSION TO FILE REPLY

 

Before the court is defendant’s June 3, 2005, unopposed
motion to file a reply in further support of its motion for
summary judgment on FedEx's claim regarding the purported
calibration trade secret. For good cause shown, the motion is

granted and plaintiff may file its reply.

0
It is so ORDERED this l n\ day Of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

UNDITE` sTATEs DISRTICT oUR - WESTE"DT"RISRICOF TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 564 in
case 2:01-CV-02503 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

John R. Branson

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Charles F. Morrow

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

John G. Fabiano

WILMER CUTLER PICKERING HALE & DOOR LLP
60 Hale St

BOSton7 MA 02109

.1. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Frank 1\/1. Holbrook

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Cynthia .1. Collins

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
1\/1emphis7 TN 38125--880

Stephen R. Cochell
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
1\/1emphis7 TN 38125--880

Case 2:Ol-cV-02503-SH|\/|-tmp Document 564 Filed 06/10/05 Page 3 of 4 Page|D 683

Michael W. Higginbotham

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building B.

1\/1emphis7 TN 38125--880

David Wade

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Michael R. Heyison

WILMER CUTLER PICKERING HALE & DOOR LLP
60 State St

BOSton7 MA 02109

John Patterson Brumbaugh
KING & SPALDING

191 Peachtree St. N.E.
Atlanta, GA 30303--176

Cynthia D Vreeland

WILMER CUTLER PICKERING HALE & DORR LLP
60 State St.

BOSton7 MA 02109

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Anthony Volpe

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

Grady M. Garrison

BUTLER SNOW O'MARA STEVENS & CANNADA, PLLC
P.O.Box171443

1\/1emphis7 TN 38187--144

John J O'Malley

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

Case 2:Ol-cV-02503-SH|\/|-tmp Document 564 Filed 06/10/05 Page 4 of 4 Page|D 684

Honorable Samuel Mays
US DISTRICT COURT

